              Case 20-66816-bem                   Doc 1      Filed 05/31/20 Entered 05/31/20 17:46:42                              Desc Main
                                                             Document      Page 1 of 7
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

Case number (if known)                                                      Chapter       11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Rochester Holding Company of Georgia, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  254 N. Main Street, Unit B
                                  Jonesboro, GA 30236
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clayton                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                    GA
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 20-66816-bem                      Doc 1       Filed 05/31/20 Entered 05/31/20 17:46:42                             Desc Main
Debtor
                                                                 Document      Page 2 ofCase
                                                                                         7 number (if known)
          The Rochester Holding Company of Georgia, LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
             Case 20-66816-bem                   Doc 1          Filed 05/31/20 Entered 05/31/20 17:46:42                               Desc Main
Debtor
                                                                Document      Page 3 ofCase
                                                                                        7 number (if known)
         The Rochester Holding Company of Georgia, LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
              Case 20-66816-bem                 Doc 1         Filed 05/31/20 Entered 05/31/20 17:46:42                               Desc Main
Debtor
                                                              Document      Page 4 ofCase
                                                                                      7 number (if known)
          The Rochester Holding Company of Georgia, LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 30, 2020
                                                  MM / DD / YYYY


                             X   /s/ Cornelia Spence                                                     Cornelia Spence
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Richard K. Valldejuli, Jr.                                           Date May 30, 2020
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Richard K. Valldejuli, Jr. 723225
                                 Printed name

                                 Valldejuli & Associates, LLC
                                 Firm name

                                 2199 Lenox Road, NE, Suite A
                                 Atlanta, GA 30324-4342
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-636-9957                  Email address      ecf@valldejuliandassociates.com

                                 723225 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
             Case 20-66816-bem                  Doc 1       Filed 05/31/20 Entered 05/31/20 17:46:42                                   Desc Main
                                                            Document      Page 5 of 7
      Fill in this information to identify the case:

                   The Rochester Holding Company of Georgia, LLC
      Debtor name __________________________________________________________________
                                              Northern
      United States Bankruptcy Court for the: ______________________              Georgia
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1
       None                                                                                          None            None               None              None

2
      None

3




4




5




6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
    Case 20-66816-bem   Doc 1    Filed 05/31/20 Entered 05/31/20 17:46:42   Desc Main
                                 Document      Page 6 of 7

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                         AWS Physicians PC
                        Attn: Dianne R Watson
                        AWS Physicians PC
                        Atlanta, GA 30342


                        Aldridge Pite, LLP
                        Suite 500, Fifteen Piedmont Cente
                        3575 Piedmont Road, NE
                        Attn: Jennifer Pierce
                        Atlanta, GA 30305


                        David T. Hamilton, P.C.
                        For SMK & Associates, LLC
                        11200 Atlantis Place, Suite A
                        Alpharetta, GA 30022


                        FZA Note Buyers, LLC
                        Attn: Ted Doukas
                        4713 Villa Mare Lane
                        Naples, FL 34103


                        Mr. Cooper Mortgage
                        Bankruptcy Department
                        350 Highland Dr.
                        Lewisville, TX 75067-4177


                        Robert Williams Heckman
                        c/o Rushmyfile, Inc.
                        380 Beach Road, Suite B
                        Burlingame, CA 94010


                        SMK & Assocaites, LLC
                        7568 Waters Edge Drive
                        Stone Mountain, GA 30087
            Case 20-66816-bem                         Doc 1          Filed 05/31/20 Entered 05/31/20 17:46:42             Desc Main
                                                                     Document      Page 7 of 7



                                                               United States Bankruptcy Court
                                                        Northern District of Georgia - Atlanta Division
 In re      The Rochester Holding Company of Georgia, LLC                                                 Case No.
                                                                                   Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for The Rochester Holding Company of Georgia, LLC in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:



    None [Check if applicable]




 May 30, 2020                                                         /s/ Richard K. Valldejuli, Jr.
 Date                                                                 Richard K. Valldejuli, Jr. 723225
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for The Rochester Holding Company of Georgia, LLC
                                                                      Valldejuli & Associates, LLC
                                                                      2199 Lenox Road, NE, Suite A
                                                                      Atlanta, GA 30324-4342
                                                                      404-636-9957 Fax:404-636-5798
                                                                      ecf@valldejuliandassociates.com




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
